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                                              Pg 1 of 6
     Gerald D Williams
      Cheryl T. Williams

                                              MO
                       Eastern District of __________
                       __________
      19-45577




            Residential Mortgage Loan Trust 2013-TT2,
            by U.S. Bank National Association, not in its individual
            capacity, but solely as Legal Title Trustee                                    7-1


                                        2      9      6      7                             03/01/21


                                                                                           1,180.83




                                    388.34                                        420.68




                                                                       mortgage
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                                           Pg 2 of 6

      Gerald D Williams                                          19-45577




/s/Richard Postiglione                                   02/03/21


        Richard Postiglione
        First Name



        Friedman Vartolo LLP

        1325 Franklin Ave Suite 160

        Garden City                   NY      11530
        City                          State



         (212) 471-5100                                  bankruptcy@friedmanvartolo.com
                               START ESCROW 0005112967_000002_01072021
Case 19-45577             Doc 61                                     ANNUAL 12:25:44
                                       Filed 02/05/21 Entered 02/05/21            ESCROW ACCOUNT
                                                                                           Main Document
                                                     Pg 3 of 6         DISCLOSURE STATEMENT
           321 Research Pkwy, Ste 303
                                                     0005112967
                                                                       Analysis Date:           01/07/21
           Meriden, CT 06450
                                                     15080314 01                        Loan Number:
                                                               700571
                                                               ESCROW                   Borrower Name:                GERALD D WILLIAMS


                                                                                        Customer Service:                  1-866-882-8187
             000002
                                                                                        Visit Our Website at: www.planethomelending.com
             GERALD D WILLIAMS                                                          Email: cs@myloansupport.com
             26201 BUBBLING BROOK DR
             FORISTELL MO 63348




    Planet Home Lending has reviewed your escrow account to determine your new monthly escrow payment. As you may
    know, we collect funds and hold them in your escrow account to pay items such as property taxes, mortgage insurance and
    homeowner's insurance premiums on your behalf. Below are answers to the most commonly asked questions we receive
    about the annual escrow analysis and the details related to your account.
    1. What is the amount of my new monthly payment starting March 01, 2021?
                         Payment Items                        Current Payment       New Payment        Difference

                         Principal and Interest                        $760.15             $760.15          $0.00
                         Escrow                                         388.34              406.48          18.14
                         Shortage/Surplus                              -388.32               14.20         402.52
                         Total Monthly Payment                         $760.17           $1,180.83        $420.66


            • Note: If you currently use a bill pay service to make your monthly payments, please update the amount scheduled for
               submission in March to reflect the new payment listed above. If you are currently set up on automatic payments with
               Planet Home Lending, your March payment will automatically be adjusted to include the above escrow amount(s).

            • If you have an adjustable rate mortgage the New Payment Amount may not reflect any pending changes to the Principal
              and interest portion of you payment.

    2. What are the most common reasons that my escrow payment may change from year to year?
      A.     Increases or Decreases in Amounts Billed – the amount we collect each month to be held in your escrow
             account may change based on increases or decreases to your property taxes, mortgage insurance, and
             homeowner’s insurance premiums. The information below compares the amounts Planet Home Lending
             expected to pay for each item this past year from your escrow account to the actual amounts that were paid.
             The difference column reflects the increase or decrease for each escrowed item.
                                                                     Expected           Actual         Difference
                          Escrowed Item                           Amounts Due      Amounts Due
                          COUNTY                                      $3,190.51        $3,296.51            $106.00
                          HOMEOWNERS                                  $1,469.48        $1,581.21            $111.73
                          Total Annual Escrow Payments                $4,659.99         $4,877.72           $217.73
                          Monthly Escrow Payments                       $388.34          $406.48             $18.14


      B.    Repayment of Escrow Shortage or Surplus - According to the projections shown in Table 1 on the reverse
            side, your escrow account will fall below the minimum required balance of $812.96 in December. This means you
            will have a shortage of $170.34 in your escrow account.




                      Projected Low Escrow Balance       Allowable Low Escrow Balance                  Shortage
                              -$9,124.87            minus             $812.96            equals          ($170.34)


        Please write your loan number on your check and mail this portion with your payment.

                                                                 ESCROW SHORTAGE COUPON
                 Loan Number:                                    You have the following options to repay your Escrow Shortage:

                 Name: GERALD D WILLIAMS                         A. Do Nothing – The total shortage has been divided over 12
                                                                    months and $14.20 will automatically be added to your monthly
                                                                    payment beginning March 01, 2021. Your new payment amount
                                                                    including the shortage will be $1,180.83.
                 Shortage Amount: $170.34
                                                                  B. Repay the Escrow Shortage in Full – Please submit a check
                                                                     in the amount of $170.34 along with this coupon to the address
                                                                     listed to the left on this coupon. Your new monthly payment will
                                                                     be $1,166.63 once the escrow shortage is paid in full.

            321 Research Pkwy, Ste 303                                                     Amount Enclosed $__________________
            Meriden CT 06450
                                                                                                                      Loan Number:
Case 19-45577               Doc 61        Filed 02/05/21 Entered       02/05/21
                                                                   NEW PAYMENT     12:25:44
                                                                               EFFECTIVE          Main
                                                                                          DATE: March      Document
                                                                                                      01, 2021
                                                        Pg 4PROJECTIONS
                                  COMING YEAR ESCROW ACCOUNT  of 6      AND ACTIVITY HISTORY

    Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12 months. This
    table shows the projected low balance point that is used to calculate an escrow shortage or surplus. Table 2 itemizes your actual
    escrow account transactions since your previous analysis statement or initial disclosure. Last year’s estimates are next to the actual
    activity. An asterisk (*) indicates a difference from a previous estimate in either the date or the amount. The letter "E" beside an amount
    indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown. If you want a further explanation
    please call our toll-free number.
    Unless limited by state law, Federal law (RESPA) allows lenders to maintain a two month cushion in an escrow account. The cushion helps
    minimize the amount your escrow account could be overdrawn if tax or insurance payments increase.
    Please keep this statement for comparison with the actual activity in your escrow account at the end of the escrow accounting computation
    year.

    TABLE 1 - ACCOUNT PROJECTIONS
                               Payments to                 Payments from                                     Escrow Required                 Projected
       Month                  Escrow Account               Escrow Account           Description                  Balance                      Balance
       Beginning Balance                                                                                                $1,625.88            -$8,311.95
       March                             406.48                         0.00                                             2,032.36             -7,905.47
       April                             406.48                         0.00                                             2,438.84             -7,498.99
       May                               406.48                         0.00                                             2,845.32             -7,092.51
       June                              406.48                         0.00                                             3,251.80             -6,686.03
       July                              406.48                         0.00                                             3,658.28             -6,279.55
       August                            406.48                         0.00                                             4,064.76             -5,873.07
       September                         406.48                         0.00                                             4,471.24             -5,466.59
       October                           406.48                         0.00                                             4,877.72             -5,060.11
       November                          406.48                         0.00                                             5,284.20             -4,653.63
       December                          406.48                     3,296.51        COUNTY                               2,394.17             -7,543.66
       December                            0.00                     1,581.21        HOMEOWNERS                             812.96             -9,124.87
       January                           406.48                         0.00                                             1,219.44             -8,718.39
       February                          406.48                         0.00                                             1,625.92             -8,311.91
   **Low Balance used to determine escrow overage or shortage.

    TABLE 2 - ESCROW ACTIVITY HISTORY
                                     Payments to                   Payments from                                              Escrow Account
       Month                        Escrow Account                 Escrow Account           Description                           Balance
       Beginning Balance                                                                                                               -$5,496.30
       October                                  0.02   *                         0.00                                                   -5,496.28
       November                                 0.00   *                     1,561.90   *   HAZARD INS                                  -7,058.18
       December                                 0.00   *                     3,285.12   *   COUNTY                                     -10,343.30
       December                                 0.00                             0.00   *   HOMEOWNERS                                 -10,343.30
       January                                406.37   *                         0.00                                                   -9,936.93
       February                                 0.00   *                         0.00                                                   -9,936.93
       March                                1,219.17   *                         0.00                                                   -8,717.76
       April                                  812.78   *                         0.00                                                   -7,904.98
       May                                    812.78   *                         0.00                                                   -7,092.20
       June                                   406.39   *                         0.00                                                   -6,685.81
       July                                   406.39   *                         0.00                                                   -6,279.42
       August                                 406.39   *                         0.00                                                   -5,873.03
       September                              812.78   *                         0.00                                                   -5,060.25
       October                                406.39   *                         0.00                                                   -4,653.86
       November                               406.39   *                     3,296.51   *   COUNTY                                      -7,543.98
       November                                 0.00                         1,581.21   *   HAZARD INS                                  -9,125.19
       December                               812.78   *                         0.00                                                   -8,312.41
       January                                  0.44   E                         0.00   E                                               -8,311.97
       February                                 0.02   E                         0.00   E                                               -8,311.95




     ATTENTION TO ANY DEBTOR IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN BANKRUPTCY: This document is being sent for
     compliance and/or informational purposes only and is not an attempt to collect a debt or impose personal liability on the recipient except as permitted
     by law. Please be advised that this letter constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof who has
     received a discharge of such debt in accordance with applicable bankruptcy laws or who is subject to the automatic stay of Section 362 of the US
     Bankruptcy Code. Creditor retains its rights under its security instrument, including the right to foreclose its lien.
     Borrowers who are not in bankruptcy or who have not received a discharge in bankruptcy, please be advised that Planet Home Lending is a debt
     collector attempting to collect a debt and any information obtained may be used for that purpose.
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF MISSOURI
 ----------------------------------------------------------------X
                                                                :
                                                                : CASE NO.: 19-45577
   IN RE:                                                       :
   Gerald D Williams                                            : CHAPTER: 13
                                                                :
                                                                   HON. JUDGE.: Kathy A. Surratt-States
   Cheryl T. Williams,                                          :
                                                                :
   Debtor(s).                                                   :
                                                                :



 ----------------------------------------------------------------X

                                     CERTIFICATE OF SERVICE

        On February ___, 5     2021, I caused to be served a true copy of the
 annexed NOTICE OF MORTGAGE PAYMENT CHANGE by mailing the same by
 First Class Mail in a sealed envelope, with postage prepaid thereon, in a post
 office or official depository of the U.S. Postal      Service, addressed  to  the
 last known address of the addressee, and the property address as indicated on the
 attached Service List annexed hereto.

                                                                  /s/Richard Postiglione
                                                             By: ____________________
                                                             FRIEDMAN VARTOLO LLP
                                                             85 Broad Street, Suite 501
                                                             New York, New York 10004
                                                             T: (212) 471-5100
                                                             F: (212) 471-5150
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                                     SERVICE LIST

Gerald D Williams
26201 Bubbling Brook Dr.
Foristell, MO 63348
Debtor

Cheryl T. Williams
26201 Bubbling Brook Dr.
Foristell, MO 63348
Joint Debtor

Wesley C Gotschall
The Kline Law Firm, LLC
125 N Main St.
Suite 100
St. Charles, MO 63301
Debtor’s Attorney
Diana S. Daugherty
Chapter 13 Trustee
P. O. Box 430908
St. Louis, MO 63143
Trustee

Office of US Trustee
111 S Tenth St, Ste 6.353
St. Louis, MO 63102
Asst. U.S. Trustee
